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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                  MONROE DIVISION


 RAVEN ROWLAND, NATURAL TUTRIX                    *   CIVIL ACTION
 OF THE MINOR CHILD,                              *
 BENJAMIN DAVIS JR                                *   NO. 13-02313
                                                  *
 VERSUS                                           *   JUDGE DONALD E. WALTER
                                                  *
 AMERICAN MEDICAL RESPONSE, INC.                  *   MAGISTRATE JAMES D. KIRK
                                                  *

                            FIRST AMENDED COMPLAINT

       The Petition of RAVEN ROWLAND, appearing solely in her capacity as natural

 tutrix of the minor child, BENJAMIN DAVIS, JR., a major resident and domiciliary of

 Monroe, Ouachita Parish, State of Louisiana, respectfully represents:

                                            I.

       Made Defendant herein is AMERICAN MEDICAL RESPONSE, INC. , a business

 corporation authorized to do and doing business in the State of Louisiana, who may be

 served through its agent for service of process, Corporation Service Company, located at

 320 Somerulos Street, Baton Rouge, Louisiana 7802.

                                            II.

       On June 18, 2012, Benjamin Davis, Sr., was spending the evening at his residence,

 bearing the address of 75 Roy Drive, Monroe, Louisiana, along with his minor son,

 Benjamin Davis, Jr., and the child’s mother, Raven Rowland.
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                                              III.

        Petitioner is the natural mother and tutrix of the minor child of Mr. Davis and as such,

 she is the proper person to bring this action on the child’s behalf.

                                              IV.

        Mr. Davis had been feeling ill for a number of days. During the early morning hours

 of June 18th, Mr. Davis desired to go to the bathroom but he was so weak he called to Ms.

 Rowland for assistance as he was unable to walk from the bedroom to the bathroom

 without assistance.

                                               V.

        Ms. Rowland was attempting to assist Mr. Davis when he suddenly became non-

 responsive, stopped breathing, and lost his pulse. Ms. Rowland administered CPR and Mr.

 Davis regained consciousness and was able to communicate with her. Understanding his

 dyer circumstances and that he needed immediate emergency care, Ms. Rowland called

 for an ambulance and also sought the assistance of a neighbor to assist her with their

 infant child.

                                              VI.

        Emergency technicians employed by American Medical Response arrived on the

 scene and were informed by Ms. Rowland of Mr. Davis’ serious condition and specifically

 informed them that he had already lost consciousness and stopped breathing at one point

 and she urgently pled with the Emergency Medical Technicians to transport Mr. Davis to

 the nearest healthcare facility for emergency care.
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                                             VII.

        However, the defendant’s employees, primarily Ms. Jackie Berry, questioned both

 Ms. Rowland and Mr. Davis as to whether he really wanted to go to the hospital as she did

 not believe his condition to be serious. Ms. Rowland and Mr. Davis confirmed that indeed

 he wished to be transported to the nearest hospital as quickly as possible but even then,

 the Defendant’s employees continued questioning Ms. Rowland as to which hospital she

 wished for Mr. Davis to be transported, his insurance status and other issues which delayed

 the administration of appropriate emergency care.

                                            VIII.

        Recognizing Mr. Davis’ dire circumstances, Ms. Rowland asked that he be

 transported to the closest emergency room facility which was St. Francis Medical Center,

 less than two (2) miles from her residence.

                                               IX.

        The Defendant’s employees attempted to have Mr. Davis walk to the ambulance,

 which he was unable to do. Then, they had significant difficulty and delays in placing him

 on a gurney for transport to the ambulance vehicle.

                                               X.

        Ultimately, though the Defendant’s employees did get Mr. Davis to the ambulance,

 Mr. Davis went into cardiac arrest while in transit and was later pronounced dead at the

 hospital.

                                               XI.

        Petitioner avers that as indicated by the foregoing, the Defendant is responsible for
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 the damages occasioned in this matter for the failure of its employees to provide

 appropriate and timely care to Mr. Davis given his emergency condition which, Petitioner

 avers, had he received such appropriate and timely emergency life saving measures would

 have given him a better chance of survival and, likely, avoided his untimely death.

                                            XII.

       Petitioner itemizes the damages complained of as follows:

       A.     Wrongful death of Benjamin Davis, Sr. and alternatively, lost opportunity

               of survival suffered by Mr. Davis;

       B.     Pain and suffering of Mr. Davis;

       C.     Emotional distress and loss of quality of life suffered by Mr. Davis;

       D.     Medical expenses due to additional medical care needed by Mr. Davis

              following the injury; and,

       F.     Loss of consortium and support claim of the minor child, Benjamin Davis, Jr.,

              together with his claim for severe emotional distress, loss of quality of life,

              and such other acts as will be proven at the trial of this matter.

       WHEREFORE PLAINTIFF, RAVEN ROWLAND, NATURAL TUTRIX OF THE

 MINOR CHILD, BENJAMIN DAVIS, JR., PRAYS for judgment herein against the

 Defendant in such amounts as are reasonable in the premises, together with legal

 interest thereon from the date of judicial demand until paid, and for all cost of these

 proceedings; and,

       FURTHER PRAYS for all general and equitable relief afforded by law.
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                                            Respectfully submitted,

                                              /s/ David C. McMillin
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                                            Attorneys for Raven Rowland, natural tutrix of
                                            the minor child, Benjamin Davis, Jr.



                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been electronically filed with the
 Clerk of court of the United States District Court for the Western District of Louisiana by
 using the CM/ECF system, which will send a notice of electronic filing to all counsel of
 record in this matter via the electronic filing system.

         I further certify that I mailed the foregoing document and notice of electronic filing
 by first-class mail to all counsel of record who are not participants in the CM/ECF system
 on this 29th day of August, 2013.


                                             /s/ David C. McMillin
                                            David C. McMillin (#19053)
                                            WATSON, MCMILLIN & HARRISON, L.L.P.
